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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------X

UNITED STATES OF AMERICA,

v.                                                   Case No. 23-CR-342
                                                     UNOPPOSED MOTION
HORST JICHA,                                         MODIFY BOND
                                                     CONDITIONS
          Defendant.
----------------------------X


        Horst Jicha, through undersigned counsel, hereby files this Unopposed Motion to Modify

Bond Conditions, and in support thereof states as follows:

     1. Mr. Jicha was arrested on December 27, 2023, in the Southern District of Florida.

     2. On January 17, 2024, Mr. Jicha was released from pretrial detention on stipulated bond

conditions, and his case was removed from the Southern District of Florida to the Eastern District

of New York.

     3. Mr. Jicha has been living with his partner, Ewa Jicha, in the E.D.N.Y. while on bond. He

has been fully compliant with the conditions of his bond.

     4. Mr. Jicha asks this Court to modify his conditions of bond to allow him to go to a local

gym to exercise for two hours each day. The gym, Retro Fitness, is located at 2244 Church Avenue,

Brooklyn, New York 11226. The two-hour time limit would include his travel to and from the gym

and would occur during a time in the day that has been pre-approved by Pre-Trial Services.

     5. Undersigned counsel has conferred with counsel for the Government. The Government

does not oppose Mr. Jicha’s request. Pre-Trial Services has also approved this request.

        WHEREFORE, Mr. Jicha respectfully requests this Court grant his Unopposed Motion to

Modify Bond Conditions.
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Dated: February 28, 2024                             Respectfully submitted,

                                                     /s/ Marissel Descalzo
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                                                     Counsel for Horst Jicha

                               CERTIFICATE OF SERVICE

       I CERTIFY that on February 28, 2024, the foregoing document was filed electronically via

CM/ECF which will serve all parties of record.

                                                     /s/ Marissel Descalzo
                                                     Marissel Descalzo, Esq.




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